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IN THE UNITED STATES DISTRICT COURT
FOR THE wEsTERN DISTRICT oF TENNESS%§;;RZZ pH d £_
wEsTERN DIVISION
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&FSRB#`JT'§; §:».`s;mfé
GREEAR TREW,

Plaintiff,
v. Civil No. 04-2163 BP
AMERICAN INSTITUTE OF

INTRADERMAL COSMETICS, INC.,
and CLARIANT CORPORATION,

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Defendants

 

ORDER GRANTING IN PART AND DENYING IN PART
PLAINTIFF'S MOTION FOR ORDER COMPELLING DISCOVERY

 

Before the Court is Plaintiff's Motion for Order Compelling
Discovery, filed February 23, 2005 (dkt #71). On April 22, 2005,
the Court held a hearing on the motion. Counsel for all parties
were present and heard. For reasons stated on the record, the
motion is GRANTED in part and DENIED in part as follows:

l. Interrogatory No. 6: Defendant American Institute of
Intradermal Cosmetics, Ino. (“AIIC”) shall respond and/or provide
documents responsive to this interrogatory through March 9, 2004.

2. Interrogatory No. 10: AIIC shall provide Plaintiff with
an interrogatory' response, as stated, on the record, regarding
Premier True Color Concentrates, Premier Original Colors, and
Premier Enhanced True Colors. AIIC need not provide any further

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response to this interrogatory.

3. Interrogatory No. 12: AIIC shall provide Plaintiff with
a response to this interrogatory for the four year period prior to
July 2003.

4. Interrogatory No. 13: AIIC shall provide Plaintiff with
a response to this interrogatory for the period January 2002 to
March 9, 2004.

These responses shall be provided to Plaintiff within fifteen
(15) days from the date of this order. Plaintiff's motion for
attorney’s fees and expenses is DENIED.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date r'

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This notice confirms a copy of the document docketed as number 82 in
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Honorable J. Breen
US DISTRICT COURT

